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Ca_Se 2:1?-cV-00534»RSJ_ Document 17 Ff|ed 04/27/17 Page 1 015

THE HONORABLE ROBERT S. LASNIK

UNITEI) STATES I)ISTRICT COURT
WESTERN DISTRICT OF WA.SHINGTON
AT SEA_TTLE

HTC Corporation and HTC Americ§l, lnc.
Plaintiif`$,

V.

Telefo_naktiebolaget LM Ericsson and Ericsson

Inc., `

Defendants.

 

 

 

 

STIPULATED MOTION AND“-[PRGP@_‘S'E‘B}"
ORDER APPROV]NG ACCEPTANCE OF

SERVICE OF SUMI\/_[ONS AND EXTENSION
TO RESPOND TO COMPLAINT
2:17-cv-00534

CASE NO.: 2:17-cv-00534

STIPULATEI) MOTION AND

-»-EPRO?B‘SBD']` ORDER APPROVING
ACCEPTANCE OF SERVICE OF
SUMMONS AND EXTENSION OF
TIl\/[E TO RESPOND TO
COM]’LAINT _

NOTE ON MOTION CALENDAR:
Apr1127, 2017

WlLsoN SONSINI GOODRlCH & RosATI
70l Fi&h AYenue, Suite 5100
Seal‘tie, WA 98104-7036
Teli (296) 333-2500
Fax: (206) 333-2699

 

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Case 2117-ev-00534-RSL Docnz'nent 17 F§|ed 0412?/17 Page 2 015

Plaintiffs HTC Corporation and HTC Arnerica, lnc. (collectively, HTC) and Defendants
Telefonaktiebolaget LM Ericsson and Ericsson lnc., (together, Ericsson) hereby stipulate:

WHEREAS, on April 6, 2017, HTC filed a complaint in this action, Whioh alleges breach
of contract, breach of the covenant of good faith and fair dealing, and promissory estoppel
(Complaint); `

WHEREAS on April 7, 2017 l-lTC effectuated service of summons on Ericsson lnc.,
through its agent of service Capitol Corporate Service lnc, RA;

WHEREAS Det`endant Telefonak`tiebolaget LM Ericsson ls a foreign entity that has not
been served with process;

WHEREAS, the parties to this stipulation seek to resolve issues of service and establish a
single date for both Defendants to respond to HTC’s Conipiaint. l 7

NOW' T[~[EREFORE, the parties to this stipulation agree, subject to the Court's approval,
as follows:

l. Telefonaktiebolaget' LM Ericsson Will' waive service of summons in this matter
and Will move, answer, or otherwise respond to HTC’s complaint on or before July 27, 2017.

2. Ericsson Inc.’s deadline to move, answer, or otherwise respond to the Cornplaint
is extended to July' 27, 2017

3. By entering this stipulation, no party is waiving any argument, right or defenseJ
except as to issues related to service of summons

Dated: Aprii 27, 2017 s/ James C. Yoon y
lames C. Yoon, Admz`tred Pro Hac Vr'ce
Wilson Sonsini Goodrich & Rosati
Prot`essional Corporation
650 Page Mill Road
Palo Alto, CA 94304-1050
Telephone: (650) 493-9300
Facsirnile: (650) 565-5100
Email: jyoon@wsgr.corn

All‘omeysfor Plaint#s HTC Corporation and
HTC America Inc._ -

STlPULATED MOTION AND»EPR£)BQSED} WILSON SoNs:Nl Goor)mcs & RosArI
0RDER AP_PROviNG ACCEPTANCE oF 701 Fiih A“=“ue, Suit€ 5100

Seat“tle, WA` 98104~7036
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- RESPOND TO COMPLAINT-PAGE1 ' - Fax: (206)383~269'9

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Case 2:17-cv-00534-RSL Docurnent 17 Filed 04!27!17 Page 3 015

Dated: April 27, 2017 s/ Sreven J. Pollinger
Steven J. Pollinger
Washington State Bar # 23075
McKOOL SMITH P.C.
300 W. 6th street suite 1700
Austin, TX 78701 `
Telephone: (512) 692-8702
Facsimile: (512) 692-8744
Email: spollinger@mckoolsmith.com

Arfomeysfor Deférzdams Telefonakfiebolaget
LM Ericsson and Erics-son Inc.

STIPULATED MO']`lON ANDfPRQPQSEB} WILSON SONSINI GooDRICH & RosA'rl
ORDER APPROVING ACCEPTANCE oF 7031 Fiffh Av@nu€, Sw`w §109
sERvicE oF sUMMoNs AND EXTENsloN ro 61:§3>(§*6`) §§§0245';§36
RESPOND To CoMPLAlNrYPAGE 2 Fax: mg 883_2699

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Case 2:17-CV-G()534-RSL Document 17 ¥iied 04}27117 Page 4 of 5 ,

“['PR@'POSE-Bf|- ORI)ER_
GOOD CAUSE HAV[NG BEEN SHO\VN, it is hereby ordered that:
1_ Telefonaktiebolaget LM Ericsson waives service of summons in this matter and
will move, answer, or otherwise respond to HTC’s complaint on or before July 27, 2017.
2. Ericsson Inc.’s deadline to move, answer, or otherwise respond to the Complaint is
extended re Ju1y 27, 2017.
3. Nothing in this Order shall be construed as a waiver of any argument, right or

defense of any party, except as to issues related to service of Sumrnons.

IT IS SO' ()RDERED.

 

Dated this May of m% , 2017.

HONORA`BLE ROBERT S. LASN]K
UNITED STATES DISTRICT JUDGE

Presented by:

James C. Yoon, Admifred Pro Hac Vz'ce
Wilson Sonsini Goodrich & Rosati
Professional Corporation

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Artomeysfor Plaintfjj€s
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Facsimile: (512) 692-8744

Ernail: Spolling_er@mckool'srnith.corn

Atfomeysfor Defendants Telefonaktiebolager LMEricsson and Ericsson Inc.

STIPULATED MOTION AND~[-PR-QBQSE,B]-e WILsoN SoNsiNl GooDRlCH & RosATI
oRDER APPROVING ACCEPTANCE 013 708]€::§“: §:“;;1%:“§0531600
sERvICE oF sUMMoNs AND EXTENSION To . Tel;’(m) 333_2500
RESPOND TO COMPLAENT¢PAGB 3 y Fax; (206) 333~2699

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